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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION


LION GATE GAS SERVICES, INC.,                   §
      Plaintiff                                 §
                                                §
                                                §    Civil Action No. 3:19-cv-00159
V.                                              §
                                                §
ATAIN SPECIALTY INSURANCE                       §
COMPANY,                                        §
     Defendant                                  §


                                  NOTICE OF REMOVAL

TO THE HONORABLE COURT:

       COMES NOW Atain Specialty Insurance Company, and files its Notice of Removal and

would respectfully show unto the Court as follows:

                                 PROCEDURAL HISTORY

       1.     Plaintiff filed suit in Cause No. 2018DCV4138, in the 210th Judicial District Court

of El Paso County, Texas on or around November 2, 2018; however, Plaintiff never served

Defendant and the court dismissed the case on or around March 6, 2019 following Plaintiff’s

failure to appear. Defendant was thereafter served on May 14, 2019, with Plaintiff’s Petition and

Atain filed a timely answer on June 7, 2019.

       2.     Defendant has filed this Notice of Removal within the time period required by 28

U.S.C. § 1446(b).

                                   NATURE OF THE SUIT

       3.     Plaintiff alleges that its building sustained damages as a result of hail that

occurred in El Paso County, Texas, on or about November 4, 2016.


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       4.      At the time of the subject incident according to Plaintiff’s Original Petition,

Plaintiff’s building is/was located at 1130 Joe Battle, El Paso, Texas 79936.

       5.      Defendant Atain is an insurance company incorporated under the laws of the State

of Michigan and whose principal office is in the State of Michigan.

                                    BASIS FOR REMOVAL

       6.      Removal is proper because there is complete diversity of citizenship between

Plaintiff and Defendant. Plaintiff is a Texas Corporation located and doing business in Texas.

Defendant Atain is an insurance company incorporated under the laws of the State of Michigan

and whose principal office is in the State of Michigan.

       7.      The amount in controversy exceeds $75,000.00, exclusive of interests, costs, and

attorneys’ fees.

                                VENUE AND JURISDICTION

       8.      Venue for this removal is proper in this district under 28 U.S.C. § 1441(a)

because this district and division embrace the place in which the removed action has been

pending.

       9.      This Court has jurisdiction of this action by virtue of the provisions of 28 U.S.C. §

1332 in that this is a case of diversity of citizenship between the parties with the amount in

controversy exceeding $75,000.00, exclusive of interest and costs.

                          DEFENDANT’S NOTICE OF REMOVAL
                             IS PROCEDURALLY CORRECT

       10.     Atain has attached to this notice all process, pleadings and orders filed in the state

court action as required by 28 U.S.C. §1446(a). (See Exhibit A, Index of Matters Being Filed.)




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                                        JURY DEMAND

        11.    Defendant made a demand for a jury trial in State District Court and tendered the

jury fee.

                                 NOTICE TO STATE COURT

        12.    Defendants will promptly file a copy of this Notice of Removal with the Clerk of

the State Court in which this action is pending.


                                                          Respectfully submitted,

                                                          CASTAGNA SCOTT LLP
                                                          1120 S. Capital of Texas Highway
                                                          Bldg. 2, Suite 270
                                                          Austin, Texas 78746
                                                          512/329-3290
                                                          888/255-0132 (Facsimile)


                                                          By: /s/ Celeste Kronenberger
                                                             Lynn S. Castagna
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                                                             Celeste P. Kronenberger
                                                             State Bar No. 24048946
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                                                             Celeste@texasdefense.com

                                                         ATTORNEYS FOR DEFENDANT
                                                         ATAIN SPECIALTY INSURANCE
                                                         COMPANY




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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing has been electronically filed with the Clerk of the
Court using the CM/ECF system which will send notification of such filing and has been sent via
facsimile to the following:

        VIA FACSIMILE: 915/613.4284
        Omar Maynez
        MAYNEZ LAW
        1812 Hunter Drive
        El Paso, Texas 79915-1522

in accordance with the Federal Rules of Civil Procedure, on this 12th day of June, 2019.


                                                  /s/ Celeste Kronenberger
                                                 Celeste P. Kronenberger




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